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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  THE HOMESOURCE, CORP.,                   Case No.: 1:18-cv-11970-ECR-AMD

                       Plaintiff,          Hon. Eduardo C. Robreno

        v.                                 Hon. Ann Marie Donio

  RETAILER WEB SERVICES, LLC,
  et al.,

                       Defendants.


             LOCAL CIVIL RULE 7.1.1 DISCLOSURE STATEMENT

       Under Local Civil Rule 7.1.1, defendants Retailer Web Services, LLC and

 Retailer Web Services II, LLC (“Defendants”) state they are unaware of any person

 or entity that is not a party and is providing funding on behalf of Defendants for

 some or all of the attorneys’ fees and expenses for this litigation on a non-recourse

 basis in exchange for (1) a contingent financial interest based upon the results of this

 litigation or (2) a non-monetary result that is not in the nature of a personal or bank

 loan, or insurance.



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 Dated: August 5, 2021              Respectfully Submitted,

                                    FOX ROTHSCHILD LLP

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                              CERTIFICATE OF SERVICE

        I, Dominique J. Carroll, hereby certify that on August 5, 2021, I electronically

 filed the foregoing Local Civil Rule 7.1.1. Disclosure Statement via the Court’s

 CM/ECF system, which will send notification of such filing to the attorneys of

 record in this litigation.

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